                                                                           Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                Desc: Main
                                                                                                     Document Page 1 of 32
                                                                                                               United States Bankruptcy Court
                                                                                                           District of Puerto Rico, San Juan Division

                                                                   IN RE:                                                                                  Case No.
                                                                   OLMEDA MIRANDA, JOSE ANTONIO                                                            Chapter 13
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: November 20, 2018                Signature: /s/ JOSE ANTONIO OLMEDA MIRANDA
                                                                                                                       JOSE ANTONIO OLMEDA MIRANDA                                             Debtor



                                                                   Date:                                  Signature:
                                                                                                                                                                                   Joint Debtor, if any
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       ACAA
       PO Box 491
       Humacao, PR    00792-0491


       Banco Popular de Puerto Rico
       PO Box 71375
       San Juan, PR 00936-8475


       Bk of Amer
       PO Box 982238
       El Paso, TX 79998-2238


       Coop A/C Del Valencian
       Carr
       31 Km 24 8
       Juncos, PR 00777


       Firstbank Puerto Rico
       PO Box 9146
       San Juan, PR 00908-0146


       Firstbank Puerto Rico
       PO Box 11856
       San Juan, PR 00910-3856


       Island Finance/Plus
       PO Box 71504
       San Juan, PR 00936-8604
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       Jaime Ruiz Saldana, Esq.
       400 Calaf St PMB 450
       San Juan, PR 00918-1314


       McKenzie Capital LLC
       Legal Department
       3390 Mary St Ste 305
       Coconut Grove, FL 33133-5258


       Miriam L. Mendiata, Esq.
       McKenzie Capital LLC Legal Dept
       3390 Mary St Ste 305
       Coconut Grove, FL 33133-5258


       Oriental Bank
       254 Ave Munoz Rivera # 15
       San Juan, PR 00918-1900


       Pentagon Federal Cr Un
       PO Box 1432
       Alexandria, VA 22313-1432
                                                                          Case:18-06747-BKT13
                                                                   B201B (Form 201B) (12/09)                 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                              Desc: Main
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                                                                                                                    United States Bankruptcy Court
                                                                                                               District of Puerto Rico, San Juan Division

                                                                   IN RE:                                                                                            Case No.
                                                                   OLMEDA MIRANDA, JOSE ANTONIO                                                                      Chapter 13
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   OLMEDA MIRANDA, JOSE ANTONIO                                           X /s/ JOSE ANTONIO OLMEDA MIRANDA                          11/20/2018
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
             Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                           Desc: Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF PUERTO RICO, SAN JUAN DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                               Chapter 13                                         Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       JOSE
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          ANTONIO
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    OLMEDA MIRANDA
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-2764
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1   OLMEDA MIRANDA, JOSE ANTONIO                                                                Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification      I have not used any business name or EINs.
     Numbers (EIN) you have
                                 DBA JA Contractors                                              I have not used any business name or EINs.
     used in the last 8 years
                                 DBA Navarro's Cafe
     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 URB VILLA MARIA X15 16 STREET
                                 CAGUAS, PR 00725
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Caguas
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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Debtor 1    OLMEDA MIRANDA, JOSE ANTONIO                                                                   Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                   Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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Debtor 1    OLMEDA MIRANDA, JOSE ANTONIO                                                                      Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.        Go to Part 4.
    business?

                                     Yes.        Name and location of business

     A sole proprietorship is a
     business you operate as an                   See Attachment
     individual, and is not a                     Name of business, if any
     separate legal entity such as
     a corporation, partnership,
     or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it                 Number, Street, City, State & ZIP Code
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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Debtor 1    OLMEDA MIRANDA, JOSE ANTONIO                                                                  Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
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Debtor 1    OLMEDA MIRANDA, JOSE ANTONIO                                                                     Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under
    Chapter 7?
                                   No.      I am not filing under Chapter 7. Go to line 18.


     Do you estimate that after     Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                  No
     are paid that funds will be
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                      $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ JOSE ANTONIO OLMEDA MIRANDA
                                   JOSE ANTONIO OLMEDA MIRANDA                                        Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      November 20, 2018                                 Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




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Debtor 1   OLMEDA MIRANDA, JOSE ANTONIO                                                                      Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Roberto Figueroa-Carrasquillo                                     Date         November 20, 2018
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Roberto Figueroa-Carrasquillo
                                Printed name

                                RFigueroa Carrasquillo Law Office PSC
                                Firm name


                                PO Box 186
                                Caguas, PR 00726-0186
                                Number, Street, City, State & ZIP Code

                                Contact phone    (787) 744-7699                                 Email address         rfc@rfclawpr.com
                                USDC 203614
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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Debtor 1         OLMEDA MIRANDA, JOSE ANTONIO                                                           Case number (if known)


Fill in this information to identify your case:

Debtor 1              JOSE ANTONIO OLMEDA MIRANDA
                      First Name                   Middle Name                 Last Name

Debtor 2
(Spouse if, filing)   First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:     DISTRICT OF PUERTO RICO, SAN JUAN DIVISION

Case number
(if known)
                                                                                                                                Check if this is an
                                                                                                                                 amended filing


                                                  FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                             Additional Sole Proprietorship(s)



d/b/a Navarro's Cafe
Name of business, if any

Navarro Community 101 1st Street
Gurabo, PR 00778
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
        Health Care Business (as defined in 11 U.S.C. § 101(27A))
        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
        Stockbroker (as defined in 11 U.S.C. § 101(53A))
        Commodity Broker (as defined in 11 U.S.C. § 101(6))

        None of the above


d/b/a JA Contractors
Name of business, if any

Urb Villa Maria X 15 16th Street
Caguas, PR 00725
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
        Health Care Business (as defined in 11 U.S.C. § 101(27A))
        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
        Stockbroker (as defined in 11 U.S.C. § 101(53A))
        Commodity Broker (as defined in 11 U.S.C. § 101(6))

        None of the above




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
            Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                                    Desc: Main
                                      Document Page 13 of 32
              Fill in this information to identify your case:

 Debtor 1                   JOSE ANTONIO OLMEDA MIRANDA
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF PUERTO RICO, SAN JUAN DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Banco Popular de Puerto
 2.1                                              Describe the property that secures the claim:                 $29,821.00               $16,454.00           $13,367.00
         Rico
         Creditor's Name
                                                  2014 Jeep Grand Cherokee 2WD
                                                  This vehicle is in possession of a
                                                  3rd Party; the Debtor's intention is
                                                  to surrender the same.
                                                  As of the date you file, the claim is: Check all that
         PO Box 71375                             apply.
         San Juan, PR 00936-8475                   Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2017-07                   Last 4 digits of account number        0001

 2.2     Coop A/C Del Valencian                   Describe the property that secures the claim:                  $4,888.00                      $0.00          $4,888.00
         Creditor's Name



         Carr                                     As of the date you file, the claim is: Check all that
         31 Km 24 8                               apply.
         Juncos, PR 00777                          Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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           Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                                Desc: Main
                                     Document Page 14 of 32
 Debtor 1 JOSE ANTONIO OLMEDA MIRANDA                                                                      Case number (if know)
              First Name                  Middle Name                     Last Name


 Date debt was incurred         2017-01-25                  Last 4 digits of account number        0125

 2.3    Firstbank Puerto Rico                      Describe the property that secures the claim:                 $46,911.00         $21,198.00            $25,713.00
        Creditor's Name
                                                   2017 Nissan Frontier 2WD
                                                   This vehicle is in possession of a
                                                   3rd party; the Debtors intention is
                                                   to surrender, the Debtor proposes
                                                   to lift the stay in order for the
                                                   secured creditor to repossess the
                                                   vehicle.
                                                   As of the date you file, the claim is: Check all that
        PO Box 11856                               apply.
        San Juan, PR 00910-3856                     Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         06/17                       Last 4 digits of account number        0054

 2.4    Pentagon Federal Cr Un                     Describe the property that secures the claim:                 $29,353.00                $0.00          $29,353.00
        Creditor's Name
                                                   2015 Dodge
                                                   RAM 5.7 HEMI
        PO Box 1432                                As of the date you file, the claim is: Check all that
        Alexandria, VA                             apply.
        22313-1432                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2017-04-12                  Last 4 digits of account number        7810


 Add the dollar value of your entries in Column A on this page. Write that number here:                               $110,973.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $110,973.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
Software Copyright (c) 2018 CINGroup - www.cincompass.com
            Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                                          Desc: Main
                                      Document Page 15 of 32
      Fill in this information to identify your case:

 Debtor 1                  JOSE ANTONIO OLMEDA MIRANDA
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF PUERTO RICO, SAN JUAN DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          ACAA                                                   Last 4 digits of account number         2901                                                         $693.38
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?             07/07/2016
              PO Box 491
              Humacao, PR 00792-0491
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 4
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         Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                                      Desc: Main
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 Debtor 1 OLMEDA MIRANDA, JOSE ANTONIO                                                               Case number (if know)

 4.2      Bk of Amer                                            Last 4 digits of account number       7092                                                $579.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2015-03
          PO Box 982238
          El Paso, TX 79998-2238
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.3      Firstbank Puerto Rico                                 Last 4 digits of account number       6984                                               $5,446.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-06
          PO Box 9146
          San Juan, PR 00908-0146
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.4      Island Finance/Plus                                   Last 4 digits of account number       1206                                              $14,536.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2016-10-27
          PO Box 71504
          San Juan, PR 00936-8604
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 4
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 Debtor 1 OLMEDA MIRANDA, JOSE ANTONIO                                                               Case number (if know)

 4.5       McKenzie Capital LLC                                 Last 4 digits of account number       CA01                                                $27,190.00
           Nonpriority Creditor's Name
           Legal Department                                     When was the debt incurred?
           3390 Mary St Ste 305
           Coconut Grove, FL 33133-5258
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify

 4.6       Oriental Bank                                        Last 4 digits of account number       0001                                                $46,392.00
           Nonpriority Creditor's Name
                                                                When was the debt incurred?           2016-10
           254 Ave Munoz Rivera # 15
           San Juan, PR 00918-1900
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims

           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify

 4.7       Pentagon Federal Cr Un                               Last 4 digits of account number       2704                                                $22,203.00
           Nonpriority Creditor's Name
                                                                When was the debt incurred?           2016-06
           PO Box 1432
           Alexandria, VA 22313-1432
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
            Debtor 2 only                                       Unliquidated
            Debtor 1 and Debtor 2 only                          Disputed
            At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community              Student loans
           debt                                                  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                      report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 4
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 Debtor 1 OLMEDA MIRANDA, JOSE ANTONIO                                                                     Case number (if know)

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Jaime Ruiz Saldana, Esq.                                    Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 400 Calaf St PMB 450                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 San Juan, PR 00918-1314
                                                             Last 4 digits of account number                      0001
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Miriam L. Mendiata, Esq.                                    Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 McKenzie Capital LLC Legal Dept                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 3390 Mary St Ste 305
 Coconut Grove, FL 33133-5258
                                                             Last 4 digits of account number                      CA01

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                  $                 117,039.38

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $                 117,039.38




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 4
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      Fill in this information to identify your case:

Debtor 1                    JOSE ANTONIO OLMEDA MIRANDA
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      DISTRICT OF PUERTO RICO, SAN JUAN DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ JOSE ANTONIO OLMEDA MIRANDA                                   X
             JOSE ANTONIO OLMEDA MIRANDA                                       Signature of Debtor 2
             Signature of Debtor 1

             Date       November 20, 2018                                      Date
            Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                              Desc: Main
                                      Document Page 20 of 32


            Fill in this information to identify your case:

 Debtor 1                 JOSE ANTONIO OLMEDA MIRANDA
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO, SAN JUAN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 For the calendar year before that:              Wages, commissions,                         $12,130.00          Wages, commissions,
 (January 1 to December 31, 2016 )                                                                               bonuses, tips
                                                 bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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 Debtor 1     OLMEDA MIRANDA, JOSE ANTONIO                                                                Case number (if known)



                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

                                                  Wages, commissions,                        $12,130.00          Wages, commissions,
                                                  bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                          Operating a business

 For the calendar year:                           Wages, commissions,                        $15,456.00          Wages, commissions,
 (January 1 to December 31, 2015 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

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8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

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      or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                    Date of your       Value of property
       how the loss occurred                                                                                                loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
       Address                                                      transferred                                             transfer was              payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       RFigueroa Carrasquillo Law Office                            $500.00 pre-petition bankruptcy fees                    04/16/2018                 $500.00
       PSC                                                          paid.
       PO Box 186
       Caguas, PR 00726-0186


       CIN Legal Data Services                                      Bankruptcy credit report                                04/24/2018                  $33.00
       4540 Honeywell Ct
       Dayton, OH 45424-5760


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
       Address                                                      transferred                                             transfer was              payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                  Describe any property or        Date transfer was
       Address                                                      property transferred                      payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                              made




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 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or            Date account was      Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                    closed, sold,          closing or transfer
       Code)                                                                                                               moved, or
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                            have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                          have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case                    Status of the
       Case Number                                                 Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
            An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business                   Employer Identification number
       Address                                                                                                     Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                   Dates business existed
       d/b/a JA Contractor                                   small construction house repairs                      EIN:
       Urb Villa Maria X15 16th St                           and house patio maintenance and
       Caguas, PR 00725                                      landscaping                                           From-To




       Navarros Cafe, Inc                                    Small cafeteria                                       EIN:
       Navarro Ward Road 189
       Gurabo, PR 00778                                                                                            From-To     Commenced operations
                                                                                                                               June/2016 thorugh present

       d/b/a Navarro's Cafe                                                                                        EIN:
       Navarro Community 101 1st Street
       Gurabo, PR 00778                                                                                            From-To


       d/b/a JA Contractors                                                                                        EIN:
       Urb Villa Maria X 15 16th Street
       Caguas, PR 00725                                                                                            From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)


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 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ JOSE ANTONIO OLMEDA MIRANDA
 JOSE ANTONIO OLMEDA MIRANDA                                           Signature of Debtor 2
 Signature of Debtor 1

 Date     November 20, 2018                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

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            Case:18-06747-BKT13 Doc#:1 Filed:11/20/18 Entered:11/20/18 13:07:10                                                   Desc: Main
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B2030 (Form 2030) (12/15)
                                                                United States Bankruptcy Court
                                                            District of Puerto Rico, San Juan Division
 In re       OLMEDA MIRANDA, JOSE ANTONIO                                                                    Case No.
                                                                               Debtor(s)                     Chapter      13

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                  3,000.00
             Prior to the filing of this statement I have received                                       $                     500.00
             Balance Due                                                                                 $                  2,500.00

2.     The source of the compensation paid to me was:
                    Debtor        Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor        Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 20, 2018                                                        /s/ Roberto Figueroa-Carrasquillo
     Date                                                                     Roberto Figueroa-Carrasquillo
                                                                              Signature of Attorney
                                                                              RFigueroa Carrasquillo Law Office PSC

                                                                              PO Box 186
                                                                              Caguas, PR 00726-0186
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                                                                              Name of law firm




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